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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                                                      Case No.:

MARVETT MCNEILL,

     Plaintiff,
                                                                                                       COMPLAINT
v.

EQUIFAX INFORMATION SERVICES
LLC,  EXPERIAN   INFORMATION
SOLUTIONS   INC,  and   ADLER
WALLACH & ASSOCIATES, INC D/B/A
AWA COLLECTIONS,

                                                                            DEMAND FOR JURY TRIAL
     Defendants.
_______________________________________/

                                                  COMPLAINT

     Plaintiff, Marvett McNeill (“Plaintiff”), by and through counsel, files this

Complaint against Defendant Equifax Information Services, LLC, (“Defendant

Equifax” or “Equifax”), Defendant Experian Information Solutions, Inc,

(“Defendant Experian” or “Experian”), and Defendant Adler Wallach & Associates

Inc. d/b/a AWA Collections, (“Defendant AWA” or “AWA”), pursuant to the Fair

Credit Reporting Act, 15 USC §1681 et seq. (“FCRA”).

                                   JURISDICTION AND VENUE

     1.         Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C.


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§ 1331, and 28 U.S.C. § 1337.

       2.         Venue in this District is proper because Plaintiff resides here,

Defendants transact business here, and the complained conduct of Defendants

occurred here.

                                      DEMAND FOR JURY TRIAL

       3.         Plaintiff, respectfully, demands a trial by jury on all counts and issues

so triable.

                                                       PARTIES

       4.         Plaintiff is a natural person, and a citizen of the State of Florida,

residing in Duval County, Florida.

       5.         Defendant Equifax is a Georgia Limited Liability Company whose

registered agent in Florida is Corporation Service Company, 1201 Hays Street,

Tallahassee, FL 32301. Equifax is a consumer reporting agency (“CRA”) as defined

by FCRA, 15 USC §1681a(f).

       6.         Defendant Experian is an Ohio corporation whose registered agent in

Florida is CT Corporation System, 1200 South Pine Island Road, Plantation, Florida

33324. Experian is a consumer reporting agency (“CRA”) as defined by FCRA, 15

USC §1681a(f).

       7.         Defendant Alder Wallach & Associates Inc d/b/a AWA Collections is

a California corporation whose registered agent is CT Corporation System, 1200


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South Pine Island Road, Plantation, Florida 33324.

                                      GENERAL ALLEGATIONS

      8.         This action involves derogatory and inaccurate reporting of alleged

Consumer Debt (the “Consumer Debt”) by AWA to the Credit Reporting Agencies,

Equifax and Experian.

      9.         On or around December 2023, Plaintiff requested a copy of her credit

report from Defendants Equifax and Experian. The report listed an account (the

“Account”) that is being inaccurately reported on her reports.

      10.        The account is an AWA account # 1215*****.

      11.        On or around December 2023, Plaintiff submitted a dispute to

Defendant Equifax requesting that Equifax remove the Account because it

inaccurately reflects a balance that she simply does not owe to the original creditor,

St. Vincent Ambulatory Care Hospital.

      12.        On or around December 2023, Defendant Equifax verified the Account

as accurate despite receiving evidence from Plaintiff that the account balance was

inaccurate and should not be on her report.

      13.        Plaintiff was denied lines of credit and loans due to the inaccurate and

delinquent Account being reported by Defendant Equifax and furnished by

Defendant AWA.


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      14.     As of the filing of this complaint, Defendant Equifax is still reporting

the Account on Plaintiff’s credit report.

      15.     On or around December 2023, Plaintiff submitted a dispute to

Defendant Experian requesting that Experian remove the Account because it

inaccurately reflects a balance that she simply does not owe to the original creditor,

St. Vincent Ambulatory Care Hospital.

      16.     On or around December 2023, Defendant Experian verified the

Account as accurate despite receiving evidence from Plaintiff that the account

balance was inaccurate and should not be on her report.

      17.     Plaintiff was denied lines of credit and loans due to the inaccurate and

delinquent Account being reported by Defendant Experian and furnished by

Defendant AWA.

      18.     As of the filing of this complaint, Defendant Experian is still reporting

the Account on Plaintiff’s credit report.

                            COUNT 1
    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                   (Against Defendant Equifax)

      19.     Plaintiff incorporates by reference paragraphs ¶¶ 1-5 and 7-14 of this

Complaint.

      20.     Defendant Equifax prepared and issued consumer credit reports

concerning Plaintiff which previously included inaccurate and derogatory reporting
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of the Account with Defendant Equifax and continues to include the same

information concerning inaccurate and derogatory reporting of the Account with

Defendant Equifax, a consumer reporting agency.

       21.       In or around early December of 2023, Plaintiff checked her credit report

and noticed that there were inaccurate reports from Defendant Equifax. Therefore,

in or around December of 2023, Plaintiff disputed this inaccurate and derogatory

information to Equifax.

       22.       Defendant AWA verified the alleged consumer debt in the amount of

$1,560.00. Despite Equifax having been put on notice of the inaccurate reporting,

Equifax did not remove the Account from Plaintiff’s Equifax credit report.

       23.       As of the filing of this complaint, Defendant AWA’s derogatory and

inaccurate information is still listed on Plaintiff’s Equifax credit report.

       24.       Equifax is engaged in the business of credit reporting and is commonly

referred to as a “Credit Bureau.” Defendant Equifax regularly obtains and analyzes

financial information about consumer transactions or experiences with any

consumer.

       25.       Equifax is a “consumer reporting agency” of consumers, as defined by

§ 1681a(f), and compiles the information into “credit reports,” which it provides to

third parties.

       26.       Despite Defendant Equifax having received Plaintiff’s dispute of the


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Account, Equifax continues to report the Account as in collections for an unpaid

balance from AWA.

       27.     Continuing to report the status of the Account in this fashion is

significant.

       28.     By continuing to report the status of the Account in this fashion, lenders

believe Plaintiff has had a recent, major delinquency negatively reflecting on

Plaintiff’s creditworthiness by impacting her credit score negatively.

       29.     Credit scoring algorithms take Plaintiff’s account status into

consideration when generating a credit score and showing this incorrect account

status would cause a lower credit score to be generated.

       30.     Equifax          failed       to      conduct         a     reasonable           investigation        and

reinvestigation.

       31.     Equifax failed to review and consider all relevant information

submitted by Plaintiff.

       32.     Equifax failed to conduct an independent investigation and, instead,

deferred to AWA, when they permitted the derogatory information to remain on

Plaintiff’s credit report after Plaintiff’s first dispute.

       33.     Equifax possessed evidence that the information was inaccurate as

described by Plaintiff in the Dispute; however, Equifax failed to correct the

information.


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       34.     Equifax’s reporting of inaccurate information about the Account, which

is the subject of the Dispute, despite evidence that said information is inaccurate

demonstrates Equifax’s failure to establish or follow reasonable procedures to assure

the maximum possible accuracy of Plaintiff’s credit reports and file.

       35.     Equifax did not conduct any independent investigation after it received

Plaintiff’s dispute and, instead, chose to parrot the information it received from

Defendant AWA despite being in possession of evidence that the information was

inaccurate.

       36.     Without any explanation or reason, Equifax continues to report this

false, inaccurate, or otherwise incomplete information, about Plaintiff.

       37.     Plaintiff has suffered damages as a result of the incorrect reporting and

Equifax’s failure to correct the credit report pertaining to Plaintiff.

       38.     On at least one occasion within the past year, by example only and

without limitation, Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or

follow reasonable procedures to assure the maximum possible accuracy in the

preparation of the credit reports and credit files published and maintained concerning

Plaintiff.

       39.     Equifax failed to establish or follow reasonable procedures to assure

the maximum possible accuracy of Plaintiff’s credit reports and credit files when

investigating Plaintiff’s disputes of the information contained in Plaintiff’s Equifax


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credit report.

         40.    Equifax’s procedures were per se deficient by reason of these failures

in ensuring the maximum possible accuracy of Plaintiff’s credit reports and credit

files.

         41.    Equifax has willfully and recklessly failed to comply with the FCRA.

The failures of Equifax to comply with the FCRA include, but are not limited to, the

following: [a] the failure to follow reasonable procedures to assure the maximum

possible accuracy of the information reported; [b] the failure to correct erroneous

personal information regarding Plaintiff after a reasonable request by Plaintiff; [c]

the failure to remove and/or correct the inaccuracy and                                            derogatory credit

information after a reasonable request by Plaintiff; [d] the failure to promptly and

adequately investigate information which Equifax had notice was inaccurate; [e] the

continual placement of inaccurate information into the credit report of Plaintiff after

being advised by Plaintiff that the information was inaccurate; [f] the failure to note

in the credit report that Plaintiff disputed the accuracy of the information; [g] the

failure to promptly delete information that was found to be inaccurate, or could not

be verified, or that the source of information had advised Equifax to delete; and [h]

the failure to take adequate steps to verify information Equifax had reason to believe

was inaccurate before including it in the credit report of the consumer.

         42.    The conduct, action and inaction of Equifax was willful, thereby


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rendering Equifax liable for actual, statutory, and punitive damages, in an amount to

be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      43.     Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

      44.     The appearance of the accounts on Plaintiff’s credit report, namely, the

accounts identified by Plaintiff in Plaintiff’s dispute to Equifax, was the direct and

proximate result of Equifax’s willful failure to maintain reasonable procedures to

assure the maximum possible accuracy of Plaintiff’s credit report in violation of the

15 U.S.C. § 1681e(b).

      45.     As a result of the conduct, action, and inaction, of Equifax, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      46.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Equifax, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1640(a)(1); [2] statutory damages pursuant

to 15 U.S.C. § 1681n(a)(1)(A); [3] statutory damages pursuant to 15 U.S.C. §

1640(a)(2); [4] after reasonable showing by evidence in the record or proffered by

Plaintiff which would provide a reasonable basis for recovery of such, punitive

damages pursuant to 15 U.S.C. § 1681n(a)(2); [5] costs and reasonable attorneys’


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fees pursuant to 15 U.S.C. §§ 1640(a)(3) and 1681n(a)(3); and [6] any other relief

that this Court deems proper under the circumstances.

                           COUNT 2
  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                  (Against Defendant Equifax)

      47.      Plaintiff incorporates by reference paragraphs ¶¶ 1-5, 7-14, and 19-46

above of this Complaint.

      48.      On at least one occasion within the past year, by example only and

without limitation, Equifax violated 15 U.S.C. § 1681i(a)(1)(A) by failing to conduct

a reasonable reinvestigation with respect to the disputed information.

      49.      On at least one occasion within the past year, by example only and

without limitation, Equifax violated 15 U.S.C. § 1681i(a)(4) by failing to review and

consider all relevant information submitted by Plaintiff with respect to the disputed

Information.

      50.      On at least one occasion within the past year, by example only and

without limitation, Equifax violated 15 U.S.C. § 1681i(a)(5) by failing to delete the

inaccurate information.

      51.      Additionally, Equifax negligently failed to report the accounts

identified by Plaintiff as “disputed” in violation of 15 U.S.C. § 168li(c).

      52.      Equifax has negligently failed to comply with the FCRA. The failures

of Equifax to comply with the FCRA include, but are not limited to, the following:


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[a] the failure to follow reasonable procedures to assure the maximum possible

accuracy of the information reported; [b] the failure to correct erroneous personal

information regarding Plaintiff after a reasonable request by Plaintiff; [c] the failure

to remove and/or correct the inaccuracy and derogatory credit information after a

reasonable request by Plaintiff; [d] the failure to promptly and adequately

investigate information which Equifax had notice was inaccurate; [e] the continual

placement of inaccurate information into the credit report of Plaintiff after being

advised by Plaintiff that the information was inaccurate; [f] the failure to note in the

credit report that Plaintiff disputed the accuracy of the information; [g] the failure

to promptly delete information that was found to be inaccurate, or could not be

verified, or that the source of information had advised Equifax to delete; and [h] the

failure to take adequate steps to verify information Equifax had reason to believe

was inaccurate before including it in the credit report of the consumer.

      53.     The conduct, action, and inaction, of Equifax was negligent, thereby

rendering Equifax liable for actual, statutory, and punitive damages, in an amount to

be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      54.     Plaintiff is entitled to recover reasonable costs and attorneys’ fees from

Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

      55.     As a result of the conduct, action, and inaction of Equifax, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,


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emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      56.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Equifax, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable

attorneys’ fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this

Court deems appropriate under the circumstances.

                            COUNT 3
    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                   (Against Defendant Experian)

      57.     Plaintiff incorporates by reference paragraphs ¶¶ 1-4, 6-10, and 15-18

of this Complaint.

      58.     Defendant Experian prepared and issued consumer credit reports

concerning Plaintiff which previously included inaccurate and derogatory reporting

of the Account with Defendant Experian and continues to include the same

information concerning inaccurate and derogatory reporting of the Account with

Defendant Experian, a consumer reporting agency.

      59.     In or around early December of 2023, Plaintiff checked her credit report

and noticed that there were inaccurate reports from Defendant Experian. Therefore,

in or around December of 2023, Plaintiff disputed this inaccurate and derogatory

information to Experian.

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       60.       Defendant AWA verified the alleged consumer debt in the amount of

$1,560.00. Despite Experian having been put on notice of the inaccurate reporting,

Experian did not remove the Account from Plaintiff’s Experian credit report.

       61.       As of the filing of this complaint, Defendant AWA’s derogatory and

inaccurate information is still listed on Plaintiff’s Experian credit report.

       62.       Experian is engaged in the business of credit reporting and is commonly

referred to as a “Credit Bureau.” Defendant Experian regularly obtains and analyzes

financial information about consumer transactions or experiences with any

consumer.

       63.       Experian is a “consumer reporting agency” of consumers, as defined by

§ 1681a(f), and compiles the information into “credit reports,” which it provides to

third parties.

       64.       Despite Defendant Experian having received Plaintiff’s dispute of the

Account, Experian continues to report the Account as in collections for an unpaid

balance from AWA.

       65.       Continuing to report the status of the Account in this fashion is

significant.

       66.       By continuing to report the status of the Account in this fashion, lenders

believe Plaintiff has had a recent, major delinquency negatively reflecting on

Plaintiff’s creditworthiness by impacting her credit score negatively.


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        67.    Credit scoring algorithms take Plaintiff’s account status into

consideration when generating a credit score and showing this incorrect account

status would cause a lower credit score to be generated.

        68.    Experian           failed       to     conduct         a     reasonable           investigation       and

reinvestigation.

        69.    Experian failed to review and consider all relevant information

submitted by Plaintiff.

        70.    Experian failed to conduct an independent investigation and, instead,

deferred to AWA, when they permitted the derogatory information to remain on

Plaintiff’s credit report after Plaintiff’s first dispute.

        71.    Experian possessed evidence that the information was inaccurate as

described by Plaintiff in the Dispute; however, Experian failed to correct the

information.

        72.    Experian’s reporting of inaccurate information about the Account,

which is the subject of the Dispute, despite evidence that said information is

inaccurate demonstrates Experian’s failure to establish or follow reasonable

procedures to assure the maximum possible accuracy of Plaintiff’s credit reports and

file.

        73.    Experian did not conduct any independent investigation after it

received Plaintiff’s dispute and, instead, chose to parrot the information it received


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from Defendant AWA despite being in possession of evidence that the information

was inaccurate.

         74.    Without any explanation or reason, Experian continues to report this

false, inaccurate, or otherwise incomplete information, about Plaintiff.

         75.    Plaintiff has suffered damages as a result of the incorrect reporting and

Experian’s failure to correct the credit report pertaining to Plaintiff.

         76.    On at least one occasion within the past year, by example only and

without limitation, Experian violated 15 U.S.C. § 1681e(b) by failing to establish or

follow reasonable procedures to assure the maximum possible accuracy in the

preparation of the credit reports and credit files published and maintained concerning

Plaintiff.

         77.    Experian failed to establish or follow reasonable procedures to assure

the maximum possible accuracy of Plaintiff’s credit reports and credit files when

investigating Plaintiff’s disputes of the information contained in Plaintiff’s Experian

credit report.

         78.    Experian’s procedures were per se deficient by reason of these failures

in ensuring the maximum possible accuracy of Plaintiff’s credit reports and credit

files.

         79.    Experian has willfully and recklessly failed to comply with the FCRA.

The failures of Experian to comply with the FCRA include, but are not limited to,


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the following: [a] the failure to follow reasonable procedures to assure the maximum

possible accuracy of the information reported; [b] the failure to correct erroneous

personal information regarding Plaintiff after a reasonable request by Plaintiff; [c]

the failure to remove and/or correct the inaccuracy and                                          derogatory credit

information after a reasonable request by Plaintiff; [d] the failure to promptly and

adequately investigate information which Experian had notice was inaccurate; [e]

the continual placement of inaccurate information into the credit report of Plaintiff

after being advised by Plaintiff that the information was inaccurate; [f] the failure

to note in the credit report that Plaintiff disputed the accuracy of the information;

[g] the failure to promptly delete information that was found to be inaccurate, or

could not be verified, or that the source of information had advised Experian to

delete; and [h] the failure to take adequate steps to verify information Experian had

reason to believe was inaccurate before including it in the credit report of the

consumer.

      80.     The conduct, action and inaction of Experian was willful, thereby

rendering Experian liable for actual, statutory, and punitive damages, in an amount

to be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      81.     Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Experian in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681(n).


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      82.     The appearance of the accounts on Plaintiff’s credit report, namely, the

accounts identified by Plaintiff in Plaintiff’s dispute to Experian, was the direct and

proximate result of Experian’s willful failure to maintain reasonable procedures to

assure the maximum possible accuracy of Plaintiff’s credit report in violation of the

15 U.S.C. § 1681e(b).

      83.     As a result of the conduct, action, and inaction, of Experian, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      84.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Experian, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1640(a)(1); [2] statutory damages pursuant

to 15 U.S.C. § 1681n(a)(1)(A); [3] statutory damages pursuant to 15 U.S.C. §

1640(a)(2); [4] after reasonable showing by evidence in the record or proffered by

Plaintiff which would provide a reasonable basis for recovery of such, punitive

damages pursuant to 15 U.S.C. § 1681n(a)(2); [5] costs and reasonable attorneys’

fees pursuant to 15 U.S.C. §§ 1640(a)(3) and 1681n(a)(3); and [6] any other relief

that this Court deems proper under the circumstances.

                          COUNT 4
  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                 (Against Defendant Experian)


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      85.     Plaintiff incorporates by reference paragraphs ¶¶ 1-4, 6-10, 15-18, and

57-84 above of this Complaint.

      86.     On at least one occasion within the past year, by example only and

without limitation, Experian violated 15 U.S.C. § 1681i(a)(1)(A) by failing to

conduct a reasonable reinvestigation with respect to the disputed information.

      87.     On at least one occasion within the past year, by example only and

without limitation, Experian violated 15 U.S.C. § 1681i(a)(4) by failing to review

and consider all relevant information submitted by Plaintiff with respect to the

disputed Information.

      88.     On at least one occasion within the past year, by example only and

without limitation, Experian violated 15 U.S.C. § 1681i(a)(5) by failing to delete the

inaccurate information.

      89.     Additionally, Experian negligently failed to report the accounts

identified by Plaintiff as “disputed” in violation of 15 U.S.C. § 168li(c).

      90.     Experian has negligently failed to comply with the FCRA. The failures

of Experian to comply with the FCRA include, but are not limited to, the following:

[a] the failure to follow reasonable procedures to assure the maximum possible

accuracy of the information reported; [b] the failure to correct erroneous personal

information regarding Plaintiff after a reasonable request by Plaintiff; [c] the failure

to remove and/or correct the inaccuracy and derogatory credit information after a


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reasonable request by Plaintiff; [d] the failure to promptly and adequately

investigate information which Experian had notice was inaccurate; [e] the continual

placement of inaccurate information into the credit report of Plaintiff after being

advised by Plaintiff that the information was inaccurate; [f] the failure to note in the

credit report that Plaintiff disputed the accuracy of the information; [g] the failure

to promptly delete information that was found to be inaccurate, or could not be

verified, or that the source of information had advised Experian to delete; and [h]

the failure to take adequate steps to verify information Experian had reason to

believe was inaccurate before including it in the credit report of the consumer.

      91.     The conduct, action, and inaction, of Experian was negligent, thereby

rendering Experian liable for actual, statutory, and punitive damages, in an amount

to be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      92.     Plaintiff is entitled to recover reasonable costs and attorneys’ fees from

Experian in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681(n).

      93.     As a result of the conduct, action, and inaction of Experian, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      94.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a


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judgment against Defendant Experian, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable

attorneys’ fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this

Court deems appropriate under the circumstances.

                           COUNT 5
    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                    (Against Defendant AWA)

      95.     Plaintiff incorporates the allegations regarding the Account and

Defendant AWA in paragraphs ¶¶ 1-18 and by reference of this Complaint.

      96.     Defendant AWA is a company specializing in collecting debts on

behalf creditors.

      97.     In or about December of 2023, Plaintiff checked her credit report and

noticed that there was an inaccurate reporting from Defendant AWA.

      98.     In or about December of 2023, Plaintiff submitted a dispute of the

erroneous and derogatory information reported to Defendants Equifax and Experian

by Defendant AWA.

      99.     In response to the Dispute, Defendants Equifax and Experian promptly

and properly gave notice to Defendant AWA of the Dispute in accordance with the

FCRA.

      100. As of the filing of this complaint, the debt has continued to be verified

by Defendant AWA.
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      101. Defendant AWA is a “furnisher of information” that regularly and in

the ordinary course of business furnishes information to one or more consumer

reporting agencies about consumer transactions or experiences with any consumer.

      102. On a date better known by Defendant AWA, Defendants Equifax and

Experian promptly and properly gave notice to Defendant AWA of Plaintiff’s

Disputes in accordance with the FCRA.

      103. In response to the notices received from Defendants Equifax and

Experian regarding Plaintiff’s Dispute, Defendant AWA did not and otherwise failed

to conduct a reasonable investigation into the AWA Account which is the subject of

the Disputes.

      104. In response to receiving notice from Defendants Equifax and Experian

regarding Plaintiff’s Dispute, Defendant AWA failed to correct and/or delete

information it knew to be inaccurate and/or which Defendants Equifax and Experian

could not otherwise verify.

      105. Instead of conducting a reasonable investigation, Defendant AWA

erroneously validated the Account and continued to report inaccurate information to

Defendants Equifax and Experian.

      106. On at least one occasion within the past year, by example only and

without limitation, Defendant AWA violated 15 U.S.C. § 1681s-2(b)(1)(A) by

failing to conduct a reasonable investigation with respect to the disputed
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information.

      107. On at least one occasion within the past year, by example only and

without limitation, Defendant AWA violated 15 U.S.C. § 1681s-2(b)(1)(B) by

failing to review all relevant information provided by the consumer reporting

agency, Equifax and Experian.

      108. On at least one occasion within the past year, by example only and

without limitation, Defendant AWA violated 15 U.S.C. § 1681s-2(b)(1)(E) by

failing to delete or inform Defendants Equifax and Experian about the inaccurate

information.

      109. Upon information and belief, Defendant AWA was aware of the FCRA

obligations to reasonably investigate disputes when it received notice of Plaintiff’s

Disputes.

      110. Defendant AWA’s investigation was per se deficient by reason of these

failures in its investigation of Plaintiff’s Disputes.

      111. As a direct and proximate result of Defendant AWA’s violations of §

1681s-2(b), Plaintiff suffered actual damages, including but not limited to: (i) money

lost attempting to fix Plaintiff’s credit; (ii) denial of financing for lines of credit and

loans (iii) loss of time attempting to cure the errors in Plaintiff’s credit; (iv) mental

anguish, added stress, aggravation, embarrassment, and other related impairments to

the enjoyment of life such as headaches, irritability, anxiety and loss of sleep; (v)
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reduction in credit score; and (vi) apprehensiveness to apply for credit due to fear of

rejection.

      112. Defendant AWA’s actions in violation of 15 U.S.C. § 1681s-2(b), were

willful, rendering it liable for actual or statutory damages as well as punitive

damages as the Court may allow and attorney’s fees in an amount to be determined

by the Court pursuant to 15 U.S.C. § 1681n.

      113. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant AWA, awarding Plaintiff the following relief: [1] actual

damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable attorneys’

fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this Court

deems appropriate under the circumstances.

                         COUNT 6
  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                  (Against Defendant AWA)

      114. Plaintiff incorporates the allegations regarding the Account and

Defendant AWA in paragraphs ¶¶ 1-18 and 95-113 by reference of this Complaint.

      115. On at least one occasion within the past year, by example only and

without limitation, Defendant AWA violated 15 U.S.C. § 1681i(a)(1)(A) by failing

to conduct a reasonable reinvestigation with respect to the disputed information.

      116. On one or more occasions within the past year, by example only and

without limitation, Defendant AWA violated 15 U.S.C. § 1681s-2(b)(1)(B) by
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failing to review all relevant information provided by the consumer reporting

agencies.

      117. On one or more occasions within the past year, by example only and

without limitation, Defendant AWA violated 15 U.S.C. § 1681s-2(b)(1)(E) by

failing to delete the Inaccurate information.

      118. When Defendant AWA received notice of Plaintiff’s dispute from

Defendants Equifax and Experian, Defendant AWA could and should have reviewed

its own systems and previous communications with Plaintiff as part of its

investigation.

      119. Defendant AWA would have discovered that the information it was

reporting about Plaintiff was inaccurate if Defendant AWA had reviewed its own

systems and previous communications with the Plaintiff.

      120. Defendant AWA’s investigation was per se deficient by reason of these

failures in Defendant AWA’s investigation of Plaintiff’s Dispute.

      121. As a direct and proximate result of Defendant AWA’s violations of §

1681s-2(b), Plaintiff suffered actual damages, including but not limited to: (i)

money lost attempting to fix Plaintiff’s credit; (ii) denial of financing for lines of

credit and loans (iii) loss of time attempting to cure the errors in Plaintiff’s credit;

(iv) mental anguish, added stress, aggravation, embarrassment, and other related

impairments to the enjoyment of life such as headaches, irritability, anxiety and loss
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of sleep; (v) reduction in credit score; and (vi) apprehensiveness to apply for credit

due to fear of rejection.

      122. Defendant AWA’s actions constitute negligent noncompliance with the

FCRA rendering it liable for actual damages as well as attorney’s fees in an amount

to be determined by the Court pursuant to 15 U.S.C. §1681o.

      123. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant AWA awarding Plaintiff the following relief: [1] actual

damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable attorneys’

fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this Court

deems appropriate under the circumstances.

Dated: December 28, 2023

                                                                 Respectfully Submitted,

                                                                  /s/ Jennifer G. Simil
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